              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                       CRIMINAL CASE NO. 1:03cr76-6


UNITED STATES OF AMERICA,                )
                                         )
                                         )
                 vs.                     )     ORDER
                                         )
                                         )
HAROLD DEAN COLE.                        )
                                         )

     THIS MATTER is before the Court on the Defendant’s pro se motion for

a copy of his Presentence Investigation Report [Doc. 284] and a subsequent

motion filed by counsel to allow disclosure of the same [Doc. 291].

     For good cause shown, the Court will grant counsel for the Defendant

access to the Defendant’s Presentence Investigation Report.

     IT IS, THEREFORE, ORDERED that Defendant’s Motion to Allow the

Disclosure of the Presentence Investigation Report [Doc. 291] is GRANTED.

     IT IS FURTHER ORDERED that the Probation Office is directed to file

a copy of the final Presentence Investigation Report in the record of this

matter so that Defendant’s counsel may have access to it.

     IT IS FURTHER ORDERED that the Defendant’s pro se request for

access to the Presentence Investigation Report [Doc. 284] is DENIED AS




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MOOT.

     The Clerk of Court is directed to provide a copy of this Order to counsel

for the Defendant, counsel for the Government, and the United States

Probation Office.

     IT IS SO ORDERED.


                                          Signed: October 1, 2012




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